Case 2:03-cv-02870-.]DB-dkv Document 29 Filed 08/31/05 Page 1 of 3 Page|D 23

IN THE UNITED sTATEs DISTRICT coURT 0 ` D.C.
FoR THE wEsTERN DISTRICT oF TENNESSEE 5ille 31
WESTERN DIV'ISION

 

AIJALON WALLACE MCLITTLE II,

 

Plaintiff,

vs. No. 03~287OBV

MOSE HINTON, et al.,

Defendants.

 

ORDER GRANTING IN PART
PLAINTIFF'S MOTION TO EXTEND DISCOVER'Y DEADLIN'E

 

Before the court is the nmtion of the plaintif£, Aijalon
Wallace McLittle II, proceeding pro se, to extend the discovery
deadline of duly 29, 2005, to September 15, 2005, in order to
pursue production of a picture withheld by the defendants from
document production and to pursue a nmrs complete response to
plaintiff's Interrogatory No. 2. The motion was referred to the
undersigned United States Magistrate Judge for determination.

Pursuant to Local Rule 11(a)(2), responses to motions in civil
cases are to be filed within fifteen days after service of the
motion. The defendants have not filed a response to this motion,
and the time for responding has now expired. Rule 11(a)(2) further
provides that “[f]ailure to respond timely to any motion . . . may

be deemed good grounds for granting the motion.”

This document entered on the docket sheet in con'ipiiance

Wim me 53 and/or 79(3) FHCP nn Q/ [ ~ o 5_' @

Case 2:03-cv-O2870-.]DB-dkv Document 29 Filed 08/31/05 Page 2 of 3 Page|D 24

In the absence of any response by the defendants, the
plaintiff's motion is granted in part. The discovery deadline is
extended to September 15, 2005l for the limited purpose of the
plaintiff pursuing production of the picture and a more complete

response to Interrogatory No. 2.

IT IS SO ORDERED this 3lst day of August, 2005.

424/mb `Y- @cwr

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:03-CV-02870 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

John Ashcroft

U.S. DEPARTl\/[ENT OF .TUSTICE

P.O. Box 66400
Washington, DC 20035--640

Aijalon Wallace McLittle
FCI- Sheridan
21050-039

P.O. Box 5000
Sheridan, OR 97378

William W. Siler

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

